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IN THE UNITED sTATEs DISTRICT CoURT F!'~ED tl“fW n.c.
FoR THE wEsTERN DISTRICT oF TENNESSEE
WESTERN DIVISION 05 JUL 20 AH 101 05

 

 

 

UNITED STATES OF AMERICA )
Plaintiff, §
VS § CR. NO. 04-20292-D
GRADY MCDOWN §
Defendant. ))
ORDER TO SURRENDER

 

The defendant, Grady McDoWn, having been sentenced in the above case to the custody of the
Bureau of Prisons and having been granted leave by the Court to lreport to the designated facility,
IS HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to the FCI Memphis
(SCP), 1101 John A. Denie Rd., Memphis, Tennessee 38134 by 2:00 p.m. on THURSDAY,
SEPTEMBER 15, 2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall
report immediately to the Office of the Clerk, F ederal Offlce Building, 167 N. Main Street, Room 242,
Mernphis, Tennessee 38103 to acknowledge by signature receipt of a copy of this Order and that the
defendant will report as ordered to the facility named above.

ENTEREDthisthe L‘i day 0fJu1y,2005.

 

1 ITED TATES DISTRICT J`UDGE

 
  
 

Thls document entered on the docket sheet In o
with Hu|e 55 and/or 32(b) FHCrP on

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ACKNOWLEDGEMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, flne or both.

Signed and acknowledged before me on

 

 

 

Clerk/Deputy Clerk Dei`endant

UNITED sATE DISTRICT COURT - wTERN DISTRCT OFTENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 56 in
case 2:04-CR-20292 was distributed by faX, mail, or direct printing on
July 21, 2005 to the parties listed.

 

 

Steffen G. Schreiner

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U.S. ATTORNEY'S OFFICE
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Ste. 800

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Honorable Bernice Donald
US DISTRICT COURT

